UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TENNESSEE

Request for Modifying the Conditions or Term of Supervision
with Consent of the Offender
(Probation Form 49, Waiver of Hearing is Attached)

Name of Offender: David Cross Case Number: 2:98CR00023-004

Current Address:
Name of Sentencing Judicial Officer: The Honorapie Thomas Gray Hull

Senior United States District Judge
Date of Original Sentence: May 17, 1999
Original Offense: Conspiracy to Distribute and Possession with the Intent to Distribute Cocaine
Class: B Felony Criminal History Category: IV
Original Sentence: 40 months imprisonment, followed by 4 years supervised release
Revocation September 30, 2002: 9 months imprisonment, followed by 3 years supervised release
Modification July 22, 2003: Participate in a program of testing and treatment for drug and/or
alcohol abuse, as directed by the probation officer, until such time as the defendant is released from
the program by the probation officer
Type of Supervision: Supervised Release
Date Supervision Commenced: June 24, 2003
Date Supervision Expires: June 23, 2006

Assistant U.S. Attorney: Dan R. Smith

Defense Attorney: James Bowman

 

PETITIONING THE COURT
To modify the conditions of supervision as follows:

The defendant is to serve 10 consecutive weekends in jail, from Friday at 6:00 p.m. to
Sunday at 6:00 p.m,

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CAUSE

While on pretrial, for the instant offense, Mr. Cross' bond was revoked after he submitted two urine
screens that tested positive for marijuana and one urine screen that tested positive for cocaine. At the
time he was originally sentenced for the instant offense, upon motion of the government, Mr. Cross
received a downward departure due to substantial assistance. Also, the Court recommended to the
Bureau of Prisons that Mr. Cross be placed in a facility that would afford him the opportunity to
participate in the intensive drug treatment program. Mr. Cross completed the 500-hour residential
drug program on December 8, 2000, prior to his initial term of supervised release.

Mr. Cross' initial term of supervised release began on November 23, 2001. While on supervised
release, Mr. Cross submitted two urine screens that were positive for marijuana and one urine screen
that was positive for cocaine. On one occasion, he failed to report for a urine screen as directed by
the U.S. Probation Office’s Code-A-Phone drug screen referral system. As a sanction to address Mr.
Cross’ non-compliance, his conditions of supervision were modified requiring him to reside at
Midway Rehabilitation Center, Knoxville. After his conditions of supervision were modified, Mr.
Cross later left Midway after testing positive on an alcohol check. Because he left Midway on his
own, he was removed from the program. On September 30, 2002, Mr. Cross’ supervised release was
revoked, and he received a nine-month sentence, followed by three years supervised release. The
revocation order did not note any special conditions of Mr. Cross’ second term of supervised release.

Mr. Cross’ second supervised release term began June 24, 2003. Due to Mr. Cross’ history of
substance abuse, this officer sought to have Mr. Cross' conditions of supervised release modified to
include the condition that he participate in substance abuse treatment, which includes testing. Mr.
Cross voluntarily signed a Waiver of Hearing form regarding that modification. The Court concurred
with the proposed modification.

Mr. Cross submitted a urine screen on June 27, 2003 that was negative. Beginning in August 2003,
Mr. Cross was placed in a six-month drug phase. He was required to submit urine screens as directed
by the U.S. Probation Office's Code-A-Phone referral system, and to attend substance abuse groups.
Between August 14, 2003 and January 12, 2004, Mr. Cross submitted 19 urine screens that were
negative. Mr. Cross attended substance abuse groups as required. On January 29, 2004, he submitted
a urine screen that was positive for cocaine. Initially, he denied using cocaine; however, he later
admitted the use. On February 10, 2004, this officer prepared a report on offender to the Court
regarding this matter. At that time, this office did not recommend that a violation warrant be issued
for Mr. Cross. This officer proposed that Mr. Cross be continued in the drug phase effective February
1, 2004. The Court concurred. This officer also mailed Mr. Cross a letter of reprimand regarding this
matter.

Between February 5, 2004 and March 31, 2004, Mr. Cross submitted eight urine screens that were
negative. On April 8, 2004, Mr. Cross reported to submit a urine screen, as directed by the Code-A-
Phone, but Comprehensive Community Services was not able to have him submit a urine screen
because they had run out of urine screen supplies used for federal offenders. Mr. Cross did not report
to submit a urine screen on April 13, 2004, as directed by the Code-A-Phone. He reported that he
had car trouble, and provided documentation regarding that matter. On April 14, 2004, this officer

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contacted Mr. Cross and instructed him to report to Comprehensive Community Services on April
14, 2004, to submit a urine screen. He submitted a urine screen on that date as instructed, with
negative results.

From April 14, 2004 to May 11, 2004, Mr. Cross submitted five urine screens that were negative.
On May 17, 2004, he failed to report for a urine screen as directed by the Code-A-Phone. Mr. Cross
reported the reason he did not report for the urine screen was that he sought emergency room
treatment for a kidney stone. This officer obtained documentation regarding his emergency room
treatment on May 17, 2004. On May 18, 2004, Mr. Cross was instructed to report to Comprehensive
Community Services to submit a urine screen.

Between May 18, 2004 and July 16, 2004, he submitted nine urine screens that were negative. Mr.
Cross failed to report for a urine screen on July 27, 2004, as directed by the Code-A-Phone. His
reasons for not reporting to submit a urine screen were that he had to accompany his pregnant
girlfriend to a doctor’s appointment, and he was meeting with a realtor to see a house.

On August 11, 2004, a non-compliance conference was held for Mr. Cross, with Supervising U.S.
Probation Officer David Nanney and this officer. This non-compliance conference was held due to
his failure to submit a urine screen on July 27, 2004, as directed by the Code-A-Phone. At that time,
Mr. Cross was instructed to call the Code-A-Phone every day until further notice. He was told that
he will not miss any further appointments for drug screens and that he will attend at least two
counseling group sessions per month.

Between August 3, 2004 and October 18, 2004, Mr. Cross submitted 12 urine screens. All of those
urine screens were negative.

Since August 2003, Mr. Cross has been required to participate in two substance abuse groups per
month. On October 29, 2004, a representative of Comprehensive Community Services reported that
Mr. Cross failed to attend two groups during October. After learning that information, this officer
instructed Mr. Cross to report to the U.S. Probation Office regarding this matter. Mr. Cross reported
on November 3, 2004. At that time, due to Mr. Cross’ failure to attend substance abuse group, it was
proposed that his conditions of supervised release be modified to include the condition that he serve
10 consecutive weekends in jail. Because Mr. Cross was waiting to find out if he could secure a
better job, Mr. Cross was given time to consider the proposed modification. He was instructed to
contact this officer by November 12, 2004, regarding his decision in this matter. On November 12,
2004, Mr. Cross contacted this officer reporting that he would sign the proposed modification.

Mr. Cross submitted a urine screen on November 2, 2004 that was negative.

From approximately November 2003 to January 6, 2004, Mr. Cross was employed by West Side
Radiator, Johnson City. According to Eugene Legg, owner of that business, he would not re-hire Mr.
Cross. Mr. Legg reported that Mr. Cross would not report to work every day and that Mr. Cross was
late in the mornings. Mr. Legg also noted that Mr. Cross got mad and quit that employment. From
March 15, 2004 through October 20, 2004, Mr. Cross was employed by TPI Corporation, Gray.
According to a TPI Human Resources Assistant, the reason Mr. Cross left that company was due to
violation of company policy, three days no call or no show. He would not be considered for re-hire.
Mr. Cross currently has a temporary job assignment at Owens Corning, Johnson City.

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A Waiver of Hearing form signed by the offender is attached. Ifthe Court concurs with the proposed
modification, this officer plans to request that the Bureau of Prisons designate Mr. Cross to the
Bristol, Virginia, Jail. That jail is closer to Mr. Cross’ residence than any jail in the Eastern District
of Tennessee, to which the Bureau of Prisons is designating inmates.

On November 19, 2004, Dan Smith, Assistant United States Attorney, was notified of the proposed
modification, and has no objections.

Respectfully submitted,

Tressa Treadway ] or

U.S. Probation Officer
Approved by:

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M. David Nanney d Daté
Supervising U.S. Probation Officer

TWT/jb

 

ORDER OF COURT:

The conditions of supervision are hereby modified as follows: The defendant is to serve 10
consecutive weekends in jail, from Friday at 6:00 p.m. to Sunday at 6:00 p.m.

So ordered.

ENTER.

     

onorable J. Ronnie Greer
United States District Judge

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‘Date

 

PROB.12B
12/00

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PROB 49
EDTN79 - 1/98
Waiver of Hearing to Modify Conditions
of Probation/Supervised Release or Extend Term of Supervision

UNITED STATES DISTRICT COURT
for the
EASTERN DISTRICT OF TENNESSEE

David Cross
Docket # 2:98CR00023-004

I have been advised and understand that I am entitled by law to a hearing and assistance
of counsel before any unfavorable change may be made in my Conditions of Probation or my
period of supervision being extended. By ‘assistance of counsel’, [ understand that | have the
right to be represented at the hearing by counsel of my own choosing if | am able to retain
counsel. J also understand that I have the right to request the Court to appoint counsel to
represent me at such a hearing at no cost to myself if I am not able to retain counsel of my own
choosing.

I hereby voluntarily waive my statutory right to a hearing and to assistance of counsel. |
also agree to the following modification of my Conditions of Probation:

The defendant is to serve 10 consecutive weekends in jail, from
Friday at 6:00 p.m. to Sunday at 6:00 p.m.

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U.S. Probation Officer Probationer or Supervised Releasee

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‘ DATE

 

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